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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MIMEDX GROUP, INC.,

                 Plaintiff,
         v.

 DBW PARTNERS LLC,                                         Case No. 1:17-cv-01925-JDB
      D/B/A THE CAPITOL FORUM,
 TREVOR BAINE,
 TEDDY DOWNEY,
 JAKE WILLIAMS,
 MILES PULSFORD,
 MATT TREACY, and
 DOES 1-100, inclusive,

                 Defendants.

                         MOTION FOR RECONSIDERATION
              OF DENIAL OF MOTION TO DISMISS DEFAMATION COUNTS

        Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, Defendants respectfully

move for reconsideration of the portion of the Court’s September 28, 2018, Memorandum Opinion

and Order denying their motion to dismiss Plaintiff MiMedx Group, Inc.’s defamation claims—

specifically, the Court’s ruling that Plaintiff did not need to allege actual malice because its status

as a public figure could not be determined from the allegations of the Complaint. The grounds for

this motion, more fully stated in the accompanying Memorandum, are that this aspect of the

Court’s Order is inconsistent with a ruling by the United States District Court for the Southern

District of New York that was entered one day later, on September 29, holding that Plaintiff had

conceded its status as a public figure; that Plaintiff likewise conceded its public figure status in its

opposition to the motion to dismiss in this case; and that Plaintiff’s failure to allege actual malice

therefore requires dismissal of its claims for defamation, libel and slander.



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                                  Respectfully submitted,

                                  /s/ Kevin T. Baine
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                                  Counsel for Defendants




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MIMEDX GROUP, INC.,

              Plaintiff,
      v.
 DBW PARTNERS LLC,
      D/B/A THE CAPITOL FORUM,                    Case No. 1:17-cv-01925-JDB
 TREVOR BAINE,
 TEDDY DOWNEY,
 JAKE WILLIAMS,
 MILES PULSFORD,
 MATT TREACY, and
 DOES 1-100, inclusive,

              Defendants.

       [PROPOSED] ORDER GRANTING MOTION FOR RECONSIDERATION

      Upon consideration of Defendants’ Motion for Reconsideration of Order Denying Motion

to Dismiss, the Motion is hereby GRANTED. The portion of the Court’s September 28, 2018,

Order denying Defendants’ Motion to Dismiss Plaintiff’s defamation claims is VACATED.

Defendants’ Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) is

GRANTED IN ITS ENTIRETY.



Dated: ________________                         _______________________________
       Washington, DC                           HON. JOHN D. BATES
                                                United States District Judge




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